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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                 Case No. CR-21-314-RAW

BRENDA BURDUE SAVAGE,

       Defendant.



                                             ORDER

       This action arises from the death of Bart Jameson on or about January 30, 2019. The

Indictment charges the Defendant with: (1) second degree murder in Indian Country, in violation

of 18 U.S.C. §§ 1111(a), 1151, and 1152; (2) use, carry, brandish, and discharge of a firearm

during and in relation to a crime of violence, in violation of 18 U.S.C. § 924(c)(1)(A); and (3)

causing the death of a person in the course of a violation of 18 U.S.C. § 924(c), in violation of 18

U.S.C. § 924(j)(1). The Indictment also include a forfeiture allegation.

       Before the court is the Defendant’s motion for Jackson v. Denno hearing and to suppress

the Defendant’s statements [Docket No. 30] and motion for taint hearing and to dismiss the

Indictment or in the alternative to suppress the testimony of law enforcement and collected

evidence [Docket No. 37]. Also before the court is the United States Magistrate Judge’s Report

and Recommendation (R&R) filed on November 19, 2021, recommending that the motions be

denied, except as to the requests for hearings, which the Magistrate Judge held on November 15,
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2021 [Docket No. 78]. The Government filed a supplement on the same date as the filing of the

R&R,1 but no responses or objections to the R&R have been filed.



       Motion for Jackson v. Denno hearing and to suppress the Defendant’s statements:

       As the Magistrate Judge pointed out, the Defendant was not in custody at the time of her

statements and there was no police action at all, much less “coercive police action.” While the

Defendant was intoxicated, she was not interrogated, and freely made the statements. As she

voluntarily spoke without interrogation by an officer, her Fifth Amendment rights are not an

issue, and the statements are admissible. Miranda v. Arizona, 384 U.S. 436, 478 (1966)

(“Volunteered statements of any kind are not barred by the Fifth Amendment and their

admissibility is not affected by our holding today.”); Cardenas v. Hartley, 448 Fed. Appx. 826,

828 (10th Cir. 2011) (“Further, merely because Mr. Cardenas was intoxicated and distraught . . .

does not undermine the voluntariness determination based upon the totality of the

circumstances.”); United States v. Muniz, 1 F.3d 1018, 1022 (10th Cir. 1993) (“The state of

intoxication does not automatically render a statement involuntary. The test is whether the

person’s will was overcome, or whether the statement was freely made.”) (citations omitted);

United States v. Guerro, 983 F.2d 1001, 1004 (10th Cir. 1993) (“While the defendant’s mental

condition is an important consideration, to find a statement involuntary, the police must

somehow overreach by exploiting a weakness or condition known to exist.”). For the reasons

stated in the R&R, the motion for Jackson v. Denno hearing and to suppress the Defendant’s

statements [Docket No. 30] is DENIED, except as to the hearing, which was held on November

15, 2021.


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  The court has reviewed and considered the supplement and exhibits thereto relating to an
investigation in 1995 by Don Hass, one of the five officers on the scene.
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       Motion for taint hearing and to dismiss the Indictment or in the alternative to
       suppress the testimony of law enforcement and collected evidence:

       At the hearing before the Magistrate Judge, the Defendant withdrew her motion to

suppress the video evidence, as she plans to use it at trial. Instead, she seeks either a dismissal of

the Indictment or an adverse jury instruction, although she concedes that dismissal is unlikely.

The Defendant argues that the law enforcement officers committed investigative errors and

allowed evidence to be contaminated and/or not be collected at all. To establish that she was

deprived of due process, the Defendant “must show both that 1) the evidence destroyed was

potentially exculpatory and 1) the government acted in bad faith in destroying it.” United States

v. Beckstead, 500 F.3d 1154, 1158 (10th Cir. 2007). “[U]nless a criminal defendant can show

bad faith on the part of the police, failure to preserve potentially useful evidence does not

constitute a denial of due process of law.” Arizona v. Youngblood, 488 U.S. 51, 58 (1988).

       The Magistrate Judge determined that while the video evidence was not immediately

evident as exculpatory, the Defendant established that the evidence was potentially useful. The

Magistrate Judge then separately addressed the five factors found in United States v. Ray, 899

F.3d 852, 864-65 (10th Cir. 2018) 2 as to the body camera evidence and as to the collection of

evidence at the scene, and determined that the officers did not act in bad faith. Because the

Defendant failed to establish bad faith on the part of the law enforcement officers, the Magistrate

Judge found that she is not entitled to dismissal of the Indictment or an adverse inference


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       We consider five factors when determining whether the government destroyed or lost
       evidence in bad faith: (1) whether the government was on notice of the potentially
       exculpatory value of the evidence; (2) whether the potential exculpatory value of the
       evidence was based on more than mere speculation or conjecture; (3) whether the
       government had possession or the ability to control the disposition of the evidence at the
       time it learned of the potential exculpatory value; (4) whether the evidence was central to
       the government's case; and (5) whether there's an innocent explanation for the
       government's failure to preserve the evidence.
United States v. Ray, 899 F.3d 852, 864–65 (10th Cir. 2018).
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instruction. The court agrees. For the reasons stated in the R&R, the motion for taint hearing

and to dismiss the Indictment or in the alternative to suppress the testimony of law enforcement

and collected evidence [Docket No. 37] is DENIED, except as to the hearing, which was held on

November 15, 2021.

       The Report and Recommendation [Docket No. 78] is hereby affirmed and adopted as this

court’s Order.

        IT IS SO ORDERED this 12th day of January, 2022.


                                             ______________________________________
                                             THE HONORABLE RONALD A. WHITE
                                             UNITED STATES DISTRICT JUDGE
                                             EASTERN DISTRICT OF OKLAHOMA




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